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                              No. 24-10248

           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT


CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA, et al.,

                                         Plaintiffs-Appellants,

                                    v.

        CONSUMER FINANCIAL PROTECTION BUREAU, et al.

                                          Defendants-Appellees.


             On Appeal From the United States District Court
          For the Northern District of Texas, Fort Worth Division
                          Case No. 4:24-cv-213

APPELLEES’ OPPOSED SUGGESTION OF MOOTNESS AND MOTION
                      TO DISMISS

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      Defendants write to suggest that this interlocutory appeal is moot and should

be dismissed. Plaintiffs filed suit challenging the Credit Card Penalty Fees Final

Rule (Late Fee Rule), 89 Fed. Reg. 19128-01, and sought a preliminary injunction

preventing its implementation. After the district court did not rule on the motion by

March 22, they appealed to this Court, arguing that their motion for a preliminary

injunction had been effectively denied. This Court agreed. The Court vacated the

district court’s effective denial and remanded to the district court to decide the

preliminary injunction motion. Unpublished Order, ECF No. 105, at 2. The panel,

however, “retain[ed] jurisdiction over this appeal.” Id. The district court has now

entered a preliminary injunction in favor of Plaintiffs. See Op. & Order, Dist. Ct.,

ECF No. 82. Accordingly, there is nothing left of this appeal: the original effective

denial was vacated by this Court, a preliminary injunction has been entered in

Plaintiffs’ favor, and Plaintiffs (understandably) have not sought any relief related

to the injunction (in their favor) in this Court. The appeal is moot and should be

dismissed. Counsel for Plaintiffs has indicated that Plaintiffs oppose this motion

and intend to file a response.

      1. Plaintiffs—an array of business associations—filed a complaint seeking

injunctive and declaratory relief regarding the Late Fee Rule, which limits the

amount of late fees that large credit card issuers can charge under the Truth in

Lending Act’s safe harbor provision. See Compl., Dist. Ct., ECF No. 1. In their

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complaint, Plaintiffs allege, among other things, that the Rule is invalid under this

Court’s decision in Community Financial Services Association of America, Ltd. v.

CFPB (CFSA), 51 F.4th 616, 643 (5th Cir. 2022), cert. granted, 143 S. Ct. 978

(2023), because “the CFPB’s rulemaking efforts related to the Final Rule . . . were

funded using money drawn through th[e] [ ] mechanism that the Fifth Circuit has

already held to be unconstitutional, ” Compl. ¶ 80.

      2. Plaintiffs filed a motion for preliminary injunctive relief on the same day.

Dist. Ct., ECF No. 3. Plaintiffs later requested a ruling by March 22. When the

district court did not rule by that date, Plaintiffs appealed on the ground that their

request for a preliminary injunction had been effectively denied. This Court agreed.

In re Fort Worth Chamber of Com., No. 24-10266, 2024 WL 1976963 (5th Cir.

May 3, 2024). It “vacated the district court’s effective denial of the motion for

preliminary injunction and remand[ed] with instructions that the district court rule

on the [Plaintiffs’] motion for a preliminary injunction by May 10, 2024.” ECF No.

105, at 2. But the Court added that “[t]his is a limited remand. Our panel retains

jurisdiction over this appeal.” Id.

      3. On remand, the district court entered a preliminary injunction in favor of

Plaintiffs on May 10. The Court concluded that, under CFSA, Plaintiffs were likely

to succeed on the merits of their funding-based claim, that they would experience

irreparable harm absent an injunction, and that the equities favored an injunction to

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preserve the status quo. Op. and Order, Dist. Ct., ECF No. 82, at 5-7. Accordingly,

the Court “granted Plaintiffs’ preliminary injunction motion (ECF No. 3) and

stayed the CFPB’s” Late Fee Rule. Id. at 12 (cleaned up).

      4. This appeal is moot. “An interlocutory appeal of the denial of a

preliminary injunction is moot when a court can no longer grant any effective relief

sought in the injunction request.” Akina v. Hawaii, 835 F.3d 1003, 1010 (9th Cir.

2016). That standard is met here. For starters, there is nothing to be done with

respect to the effective denial—it has already been vacated.1 And following the

district court’s entry of a preliminary injunction, the appeal is certainly moot.

Plaintiffs have obtained the relief that they sought: prospective relief enjoining the

rule before it took effect. There is no additional relief that they could obtain from

this Court. See, e.g., In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 150

n. 6 (3d Cir. 1986) (noting that “an appeal must be dismissed as moot when an

event occurs that prevents the appellate court from granting any effective relief,

even if the dispute is decided in favor of the appellant”). Quite simply, there is

nothing more for the Court to do in this appeal.2 The effective denial originally


1
  Indeed, once the effective denial was vacated, the appeal might have become
moot. Cf. Boyko v. Anderson, 185 F.3d 672, 673–74 (7th Cir. 1999) (concluding
that “the grant of [a] Rule 60(b) motion operates to vacate the original judgment,
leaving nothing for the appellate court to do with it—in fact mooting the appeal”).
2
 To that point, the Court has deemed Plaintiffs’ motion for an administrative stay
or injunction pending appeal moot, see Docket, ECF Entry 7 (stating that the
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challenged is no more. Plaintiffs have obtained a preliminary injunction. And

Plaintiff’s haven’t sought, and couldn’t seek, further relief from this Court at this

time.

        5. Dismissal would allow the district court to manage the litigation as it

deems appropriate, without the unnecessary limitations caused by this appeal. This

Court previously held that the pending “appeal divests the district court of

jurisdiction over those aspects of the case on appeal.” In re Fort Worth Chamber of

Com., 2024 WL 1976963, at *2. But the boundaries of that divestiture are uncertain

because there is nothing left of this appeal. The appeal has become an empty vessel

that constrains the district court’s management of this case, without serving any

review function. It is moot and should be dismissed.


Dated: May 15, 2024                                Respectfully submitted,

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                                                    s/ Justin M. Sandberg
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                                                   Joseph Frisone

motion is “DECLARED MOOT IN LIGHT OF THIS COURT’S ORDER OF
04/30/2024”), and it has canceled the main briefing schedule without resetting it,
see ECF No. 109.
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                         CERTIFICATE OF SERVICE

      On May 15, 2024, I electronically filed the foregoing with the Clerk of the

Court of the United States Court of Appeals for the Fifth Circuit by using the

appellate CM/ECF system. Counsel for all participants are registered CM/ECF

users, and service on them will be accomplished by the CM/ECF system.


                                       /s/ Justin M. Sandberg
                                       Justin M. Sandberg
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the type-volume limits of

Federal rule of Appellate Procedure 27(d)(2)(A) because it contains 960 words.

The motion also complies with the typeface and type-style requirements of Federal

Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared using Microsoft

Office 365 Pro Plus in Times New Roman 14-point font, a proportionally spaced

typeface.


                                       s/ Justin M. Sandberg
                                      Justin M. Sandberg
